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 3
                              UNITED STATES DISTRICT COURT
 4
                                    DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,                )      2:06-cr-00251-PMP-GWF
                                              )      2:13-cv-02359-PMP
 8                     Plaintiff,             )
                                              )
 9   vs.                                      )                 ORDER
                                              )
10   JEROME WILLIAMS,                         )
                                              )
11                     Defendant.             )
                                              )
12

13           Before the Court for consideration is Defendant Jerome Williams’ Motion to
14   Vacate Sentence Pursuant to 28 U.S.C. § 2255 (Doc. #130) filed December 30,
15   2013. The motion is fully briefed, and for the reasons set forth in the Government’s
16   Response (Doc. #133) the Court finds Defendant Williams’ Motion (Doc. #130)
17   must be denied.
18           Specifically, the Court finds Defendant’s Motion (Doc. #130) is untimely
19   because it was not filed within one (1) year of the date on which his Judgment of
20   Conviction became final. 28 U.S.C. § 2255(f)(1). Even if Defendant Williams’
21   Motion (Doc. #130) was deemed to be timely filed, it nonetheless fails on the merits.
22           Defendant’s reliance on the ruling of the United States Supreme Court
23   issued June 17, 2013, in Alleyne v. United States, 133 S. Ct. 2151 (2013), is
24   misplaced. As argued by the Government in its Opposition (Doc. #133), under
25   Teague v. Lance, 489 U.S. 288 (1989), Alleyne is not retroactively applicable to
26   Defendant Williams’ case. At sentencing, this Court found that Defendant Williams
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 1   used a dangerous weapon during a bank robbery, and thus assessed a 4-level
 2   increase to Defendant’s offense level under U.S.S.G. § 2B3.1(b)(2). The assessment
 3   of this enhancement neither triggered a mandatory minimum sentence nor did it
 4   increase the statutory maximum sentence for Defendant Williams’ offense of
 5   conviction. The 137-month sentence imposed by this Court was within the statutory
 6   maximum sentence for the offense of conviction. As such, the sentence imposed by
 7   this Court was appropriate in accord with the holding in United States v. Booker,
 8   543 U.S. 220 (2005), and did not violate any rule established by the United States
 9   Supreme Court in the Alleyne decision.
10           IT IS THEREFORE ORDERED that Defendant Jerome Williams’ Motion
11   to Vacate Sentence (Doc. #130) is DENIED.
12           IT IS FURTHER ORDERED that Defendant Williams’ Request for an
13   Evidentiary Hearing (Doc. #136) is also DENIED.
14           DATED: April 21, 2014.
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                                              PHILIP M. PRO
17                                            United States District Judge
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